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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, AIRLINE DIVISION; and       Civil Action No. 1:19-CV-00651-RDM
AIRLINE PROFESSIONALS ASSOCIATION
OF THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS, LOCAL UNION NO. 1224,

                      Plaintiffs,
           v.

ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,


                      Defendants.



MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
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                                 PRELIMINARY STATEMENT

        For more than a decade, pilots for defendant Atlas Air, Inc. (“Atlas”) have performed

maintenance-related engine starts – as distinct from starting the engine of an aircraft prior to

initiating a flight – when requested to do so by an aviation maintenance technician (a

“technician”). Despite this established past practice, and despite the fact that these maintenance-

related engine starts by pilots are entirely voluntary and not required by Atlas, the International

Brotherhood of Teamsters, Airline Division and the Airline Professional Association of the

International Brotherhood of Teamsters, Local Union No. 1224 (referred to collectively as “IBT”

or the “Union”) inaccurately allege in their complaint that Atlas has unilaterally altered the

pilots’ working conditions and terms of employment by “requiring” and “forcing” pilots to

conduct maintenance-related engine starts, thereby purportedly creating a major dispute under

the Railway Labor Act (the “RLA”), 45 U.S.C. §§ 151 et seq. The Union seeks an injunction to

preclude Atlas from “requiring” pilots to perform maintenance-related engine starts, and a

declaratory judgment that the Union may institute a major dispute strike against Atlas, including

directing pilots on a concerted basis not to perform maintenance-related engine starts, without

breaching the preliminary injunction issued against the Union by this Court on November 30,

2017.

        The Union’s claims for injunctive and declaratory relief should be dismissed under

Federal Rule of Civil Procedure 12(b)(1) because the Court lacks subject matter jurisdiction.

Under the RLA, disputes between carriers and unions representing their employees concerning

the interpretation or application of a collective bargaining agreement (“CBA”) are subject to the

exclusive jurisdiction of an arbitration panel called the System Board of Adjustment. So long as

a carrier’s contractual justification for its actions is “arguably justified” by express or implied



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terms of a CBA, and not “frivolous or obviously insubstantial,” only the System Board has

jurisdiction over the dispute. Consol. Rail Corp. v. Ry. Labor Execs. Ass’n (“Conrail”), 491 U.S.

299, 307 (1989).

       Here, Atlas’ contractual basis for allowing technicians to ask pilots to perform

maintenance-related engine starts voluntarily is in no way frivolous or obviously insubstantial.

Although the CBA does not address maintenance-related engine starts expressly, pilots have an

established past practice over many years of conducting such engine starts at the request of a

technician, and the Union has raised absolutely no objection until the recent events leading to

this lawsuit. Accordingly, maintenance-related engine starts performed by pilots voluntarily

when requested by a technician have become an implied term of the CBA that, at the very least,

provides an “arguable justification” on the part of Atlas for allowing the past practice to

continue. For this reason, the complaint presents a minor dispute under the RLA, not a major

dispute, and thus the legal predicate for both the Union’s requested injunction and declaratory

judgment cannot be sustained.

       The Union’s request for declaratory relief also should be dismissed because it improperly

seeks to evade the injunction issued by this Court on November 30, 2017. By way of its

injunction, the Court, among other things, prohibited IBT from engaging in a strike or a

concerted slowdown, including but not limited to directing pilots to refuse voluntary work

assignments in contravention of the pilots’ past practice. The circumstances in which that

injunction was issued, where the parties were engaged in a collective bargaining process, have

not changed. But now, with absolutely no legitimate justification under the RLA or the CBA to

support its request, the Union asks the Court for permission to do what the Court has already said

it cannot do. This would result in the very type of disruption to operations and commerce that



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this Court found to be a violation of Section 2, First of the RLA, and thus should not be

permitted.

       Alternatively, the Union’s claims for injunctive and declaratory relief should be

dismissed under Rule 12(b)(6) for failure to state a claim. As the Union well knows, the

allegations that Atlas pilots are “required” or “forced” to perform maintenance-related engine

starts are demonstrably false. The operations bulletin relied upon by the Union in its complaint

does not, by its terms, “require” or “force” pilots to perform maintenance-related engine starts,

but rather only provides “guidelines” if the pilot performs the engine start upon request of the

maintenance technician. And a subsequent clarifying bulletin issued by Atlas expressly confirms

that “[a] pilot’s decision whether to perform such an engine start is voluntary.” The complaint’s

allegation that Atlas has altered the status quo working conditions by “requiring” and “forcing”

pilots to perform maintenance-related engine starts therefore is contradicted directly by the

relevant documents referenced in the complaint. The complaint accordingly fails to state a

plausible claim, and should be dismissed.

       The complaint also fails to state a claim because an alleged change regarding voluntary

maintenance-related engine starts does not involve a change to working conditions and terms of

employment within the meaning of the status quo provisions in Section 6 and Section 2, Seventh

of the RLA. This was expressly recognized in International Association of Machinists and

Aerospace Workers v. Southern Pacific Transportation Co., Civil No. S-80-150, 1980 WL 2170,

at *4 (E.D. Cal. July 11, 1980) (union’s request for major dispute injunction denied because “by

no stretch of the imagination” can voluntary alcohol-testing implemented pursuant to individual

employee decisions “be construed to be a change in working conditions”).

       For all of these reasons, the complaint should be dismissed with prejudice.



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                                          STATEMENT OF FACTS

         A.       The Parties

         Atlas is a commercial air carrier with national and international operations.1 (Compl.

¶ 7.) IBT is the certified collective bargaining representative of the Atlas pilots under the RLA.

(Id. ¶ 5.) Atlas and the IBT Airline Division are parties to a CBA governing the rates of pay,

rules, and working conditions of the Atlas pilots. (Id. ¶ 8; see generally Compl. Ex. 1.)

Consistent with the RLA, the IBT Airline Division and Defendants have established the Atlas

Air, Inc. Crewmembers’ System Board of Adjustment (“Atlas Board of Adjustment”) which,

pursuant to the CBA, “shall have jurisdiction over all disputes between a Crewmember and the

Company, or between the Company and the Union, growing out of the interpretation or

application of any of the terms of this Agreement or amendments thereto.” (Compl. Ex. 1,

§ 21.B.) Atlas and the Union are currently engaged in negotiations, which began in 2016, to

amend the CBA. (Compl. ¶ 9.)

         B.       Maintenance-Related Engine Starts

         Atlas operates a fleet of aircraft to transport cargo throughout the nation and around the

world. (Compl. ¶ 7.) In order to service its aircraft, Atlas employs a complement of

approximately 390 Technical Operations personnel including maintenance managers.

(Declaration of M. David Citrano (“Citrano Decl.”) ¶ 3.) These managers coordinate and

oversee the work of approximately 5,600 technicians who are available to Atlas through

contracts with outside vendors. (Citrano Decl. ¶ 3.) Aircraft are subject to rigorous checks on a




1
 In addition to Atlas, IBT sues Polar Air Cargo Worldwide, Inc. (“Polar”). (See generally Complaint (“Compl.”))
Atlas and Polar also are a single carrier for purposes of pilot collective bargaining representation under the RLA, see
Atlas Air, Inc./Polar Air Cargo Worldwide, Inc., 35 NMB 259 (2008), but Atlas, and not Polar, employs the pilots
who fly for both carriers. (See Declaration of Jeffrey Carlson (“Carlson Decl.”) ¶ 4; Compl. ¶ 7.) Polar does,
however, join in this motion seeking dismissal of IBT’s complaint.

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scheduled basis and also are checked by a technician while on the ground between every flight.

(Id.) If any maintenance issues have been identified by the incoming flight crew, and/or are

discovered while the aircraft is on the ground, they are addressed by a technician. (Id.)

         Manuals published by the aircraft manufacturer specify that after certain maintenance has

been performed on the engines or other systems of the aircraft, the engines must be started to

validate that the maintenance has been performed properly and the discrepancy has been

corrected. (Citrano Decl. ¶ 4.) While some technicians are trained and authorized to start the

engine of an aircraft, the large majority are not.2 (Id.) Thus, for over a decade, technicians who

are not so trained and authorized have requested assistance from pilots working for Atlas to

perform the maintenance-related engine starts. (Id.) In the large majority of cases, pilots who

are requested by technicians to assist in the maintenance process have agreed to start the engines.

(Id.)

         Atlas and the airport authorities have implemented a number of safety protocols to ensure

that maintenance-related engine starts are performed in a safe environment. (Citrano Decl. ¶ 5.)

For example, before a pilot can conduct a maintenance-related engine start, the technician must

gain clearance from the airport authority at certain airports. (Id.) This is important because the

engines of the aircraft may be pointed toward a runway or a taxiway, and the authorities will not

approve the procedure until they are confident that area is clear of traffic. (Id.) Moreover, as

part of their basic training, pilots are informed that an aircraft engine may never be started until

the flashing red lights on the top and on the belly of the aircraft are illuminated. (Id.) Hence,




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  Because of the complexity, and potential risk of causing damage to the engine, some maintenance vendors have
made the business decision to not allow their technicians to conduct maintenance-related engine starts, while some
vendors allow this but only for technicians with years of experience who have demonstrated great proficiency in
their jobs. (Citrano Decl. ¶ 4.) Pilots, as discussed infra, are trained to start engines as a part of their basic job
functions.

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airport personnel on the tarmac are alerted when an engine will be started for maintenance or any

other purpose. (Id.)

       In order to further ensure that maintenance-related engine starts are performed safely,

Atlas utilizes ground-handling employees to work with the pilot. (Citrano Decl. ¶ 6.) Before the

pilot starts the engines he is in contact by radio with a ground-handling employee who is

positioned on the tarmac. (Id.) The ground-handling employee will inform the pilot when it is

safe to start the engines and remains on the tarmac to ensure that no safety issues arise while the

engines are running. (Id.) The ground-handling employees are fully trained in safety protocols

associated with working in and around aircraft and on the tarmac of an airport. (Id.) Once the

engines are started, the ground-handling employee remains in contact with the pilot until the

engines are shut down. (Id.) The technician who requested the maintenance-related engine start

normally remains with the pilot in the cockpit and validates his maintenance work by observing

the cockpit instruments. (Id.)

       Pilots start the aircraft engines whenever they operate a flight assignment. (Carlson Decl.

¶ 5.) Hence, they have all the training necessary to perform maintenance-related engine starts.

(Id.) They utilize established procedures and checklists every time they start the engines for a

flight, and those procedures/checklists are the same when the pilots conduct a maintenance-

related engine start. (Id.) A pilot could not function in his or her position if he or she was not

trained to safely start the aircraft engines. (Id.) Moreover, maintenance-related engine starts are

not unique to Atlas. (Declaration of Scott Bussell (“Bussell Decl.”) ¶ 7.) Pilots at other carriers

similarly assist technicians by performing maintenance-related engine starts. (Id.) Over the

course of the 10-year past practice at Atlas, there have been no accidents or harm caused by

maintenance-related engine starts by pilots. (Citrano Decl. ¶ 9.) And until February 2019,



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before the filing of the current complaint, the Union never claimed or informed Atlas that

maintenance-related engine starts by pilots created a safety concern. (Carlson Decl. ¶ 10.)

       In the past, some pilots have, on an individual-choice basis, declined to perform a

maintenance-related engine start when requested by a technician. (Citrano Decl. ¶ 7.) This has

not occurred frequently, but when it does, an Atlas maintenance manager must find a technician

who is authorized to start the engines. (Id.) Depending on the location and time of day, this may

take hours. (Id.) Atlas flies to many remote locations around the world, and it may be required

to transport a technician from another airport to assist with the engine start. (Id.) Because Atlas

relies on the long-term past practice of its pilots voluntarily to perform maintenance-related

engine starts when requested to do so by a technician, if pilots were to decline to perform such

engine starts on a concerted (rather than individual) basis, Atlas would almost certainly suffer

flight delays that could easily have been avoided. (Id.)

       Pilots who perform maintenance-related engine starts are compensated for their efforts.

(Carlson Decl. ¶ 6.) Pursuant to the Atlas CBA, pilots must report for duty an hour-and-a-half

prior to their scheduled flight departure time. (Id.) During this pre-flight period, among other

things, pilots perform duties such as checking the weather for their flight path, conducting a

visual inspection of the aircraft, reviewing the amount of fuel loaded for the flight, programing

computers in the cockpit and completing various pre-flight checklists. (Id.) Thus, in the normal

course of their assignment, pilots arrive at the aircraft and are in the cockpit well before

scheduled departure time. (Id.) It is during this period of pre-flight preparation, when a pilot is




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in the aircraft performing pre-flight duties, that he or she may be asked by a technician to start

the engines.3 (Id.)

         C.       Evidence of Past Practice

         Pursuant to regulations promulgated by the Federal Aviation Administration (“FAA”),

Atlas keeps detailed electronic and paper records of all maintenance preformed on each of its

aircraft. (Bussell Decl. ¶ 3.) One such record is referred to as an “Aircraft Log.” (Id.) The

Aircraft Log is a pre-printed form that is filled out by a technician prior to every flight. (Id.)

The technician describes any maintenance performed while the aircraft is on the ground, and

certifies through his or her signature that the aircraft is airworthy and ready for flight. (Id.) The

captain assigned to operate the aircraft must review and sign the Aircraft Log before the flight

departs. (Id.)

         By searching its maintenance database, Atlas has located 49 Aircraft Logs since 2013

showing that pilots performed maintenance-related engine starts upon request of maintenance

technicians. (Bussell Decl. ¶ 6; Ex. 2.) Because the database does not track maintenance-related

engine starts as such, it is highly likely that there are even more instances in which pilots assisted

technicians by starting the engines. (Bussell Decl. ¶ 6.) The fact that pilots have conducted

maintenance-related engine starts for years is further confirmed by the Atlas General

Maintenance Manual (“GMM”). (Bussell Decl. ¶ 4; Ex. 1.) Section 8.7.1 of the GMM provides

that “[m]aintenance must make a logbook entry when engine runs are performed by a crew



3
  Under the Atlas CBA, pilot pay is determined largely by the number of “block hours” flown each month. (Carlson
Decl. ¶ 7.) Block hours are measured from the moment the aircraft begins to back away from the departure gate to
the moment the pilots sets the brake at the arrival gate. (Id.) The CBA also compensates pilots in other ways. (See
generally Compl. Ex. 1.) For example, pilots are paid premiums for performing certain identified functions, are
guaranteed pay for a minimum number of block hours each month regardless of actual hours flown and receive per
diem allowances. (See, e.g., Compl. Ex. 1 §§ 3.A.1.d.i, 3.B, 5.A.) As noted above, pursuant to this compensation
system, pilots are required to report for duty at the airport an hour-and-a-half prior to scheduled departure time (and
they remain on duty for 30 minutes after the flight arrives at its destination). (Id. § 12.B.)

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member instead of maintenance personnel.” (Bussell ¶ 4, Ex. 1 § 8.7.1.) Atlas would have no

reason to create a procedure for maintenance-related engine starts performed by pilots unless

pilots were actually starting the engines at the request of technicians. (Id. ¶ 4.)

         D.     Operations Bulletins 19-01 and 19-04

         On February 1, 2019, Atlas published Operations Bulletin 19-01 (“OB 19-01”) entitled

“Engine Start Guidelines.” (Carlson Decl. ¶ 8; Compl. ¶ 10; Compl. Ex. 2.) By its terms, OP

19-01 provides “guidance” for pilots to follow when they are “requested by maintenance to

conduct an engine start,” including that the engine should not be run at anything greater than

“idle power.” (Carlson Decl. ¶ 8; Compl. Ex. 2.) Contrary to the allegations in the Union’s

complaint, nothing in OB 19-01 “requires” or “forces” pilots to perform maintenance-related

engine starts when requested to do so by a technician. (Carlson Decl. ¶ 8; compare Compl.

¶ 22.)

         Atlas clarified this point on March 11, 2019, when it issued Operations Bulletin OB 19-

04 (“OB 19-04”), entitled “Clarification on Operations Bulletin OB 19-01 Engine Start

Guidelines.” (Carlson Decl. ¶ 9.) OB 19-04 expressly states that “OB19-01 was not intended

and does not require that pilots preform engine starts when requested by maintenance. A pilot’s

decision whether to perform such an engine start is voluntary.” (Id.) Thus, contrary to the

allegations in the complaint, there can be no doubt that Atlas does not “require” pilots to conduct

maintenance-related engine starts.

         E.     The Court’s November 30, 2017 Preliminary Injunction

         On September 25, 2017, Atlas filed a complaint against the Union seeking injunctive

relief. See Complaint, Atlas Air, Inc., et al., v. Int’l Bhd. of Teamsters, et al., 1:17-cv-01953

(D.D.C. Sept. 25, 2017), ECF No. 1. Atlas alleged that IBT was violating Section 2, First, of the



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RLA, 45 U.S.C. § 152, First, by directing pilots to engage in a slowdown. (Id.) Atlas alleged

that as part of the slowdown, the Union, on a concerted basis, had encouraged pilots not to

volunteer for open time flying assignments they had covered in the past and not to voluntarily

depart early when the aircraft was loaded and ready to go. (Id.) After hearing three days of

evidence, and receiving extensive briefing from the parties, the Court agreed with Atlas and held

that IBT had violated Section 2, First. See Atlas Air, Inc. v. Int’l Bhd. of Teamsters, 280 F. Supp.

3d 59 (D.D.C. 2017). In its opinion supporting the injunction, the Court recognized that, in the

context of a labor dispute, phrases such as “work safe” were code words for an illegal slowdown

campaign, as recognized in the case law under Section 2, First of the RLA. Id. at 91.

       On November 30, 2017, the Court issued a preliminary injunction, which, among other

things, prohibits the Union from “authorizing, encouraging, permitting, calling, engaging in, or

continuing any strike, work stoppage, sick out, [or] concerted refusal to volunteer for or accept

work assignments.” See Order, Atlas Air, Inc., et al., v. Int’l Bhd. of Teamsters, et al., 1:17-cv-

01953 (D.D.C. Nov. 30, 2017), ECF No. 60. The circumstances under which this injunction was

issued have not changed – the parties continue to be engaged in the same collective bargaining

process that was the subject of the preliminary injunction hearing. (Carlson Decl. ¶ 2.)

       F.      The Current Dispute

       The Union filed the instant complaint on March 7, 2019, seeking injunctive and

declaratory relief. (See Compl. ¶¶ 28-49.) In its complaint, the Union alleges that Atlas has

created a major dispute under the RLA by unilaterally changing the status quo terms of

employment for pilots. (See id. ¶ 26.) On that basis, the Union alleges that it is entitled to an

injunction to prohibit Atlas from allowing technicians to ask pilots to perform maintenance-

related engine starts, and a declaratory judgement that the Union may institute a major dispute



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strike in response to Atlas’ alleged change in the status quo, including directing pilots to

discontinue performing maintenance-related engine starts, without violating this Court’s

November 30, 2017, injunction against the Union’s illegal slowdown. (See id. ¶¶ 43, 49.) The

Union relies on cases purportedly permitting a major dispute strike in response to a status quo

violation “until the Act [RLA] is complied with by the Carrier.” (Id. ¶ 47.)

                                           ARGUMENT

I.     STANDARD FOR DISMISSING A CLAIM UNDER RULES 12(B)(1) AND
       12(B)(6)

       A motion to dismiss under Rule 12(b)(1) challenges the Court’s subject matter

jurisdiction. Because the burden to establish jurisdiction is at all times on the Plaintiff, the

allegations in the complaint are entitled to no presumption of truthfulness under Rule 12(b)(1).

Bhd. of Maint. of Way Emps. Div./IBT v. Nat’l R.R. Passenger Corp., 217 F. Supp. 3d 249, 255

(D.D.C. 2016); see also Bhd. of R.R. Signalmen v. Nat’l R.R. Passenger Corp., 310 F. Supp. 3d

131, 137 (D.D.C. 2018). The Court must scrutinize the allegations more closely than it would

under Rule 12(b)(6), and in deciding whether it has jurisdiction the Court may consider evidence

extrinsic to the complaint. Bhd. of Maint. of Way Emps., 217 F. Supp. 3d at 255; Bhd. of R.R.

Signalmen, 310 F. Supp. 3d at 137.

       A motion to dismiss pursuant to Rule 12(b)(6), on the other hand, challenges the

sufficiency of a complaint as failing to allege “enough facts to state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is

plausible if the plaintiff pleads “factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Spiller v. D.C., 2019 WL

689778, at *2 (D.D.C. Feb. 19, 2019) (Moss, J) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)); see also Ibrahim v. Mid-Atlantic Air of DC, LLC, 802 F. Supp. 2d 73, 75 (D.D.C. 2011).


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The facial plausibility standard is not a “probability requirement” but mandates “more than a

sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678 (internal

quotations and citations omitted). In order to survive a motion to dismiss, a plaintiff must allege

sufficient factual content to “nudge[]” his claims “across the line from conceivable to plausible.”

Twombly, 550 U.S. at 570; see also Iqbal, 556 U.S. at 678 (“A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.”).

       For the reasons discussed below, the Union cannot establish subject matter jurisdiction

for purposes of Rule 12(b)(1) and has failed to plausibly state a claim for purposes of Rule

12(b)(6).

II.    PLAINTIFFS’ CLAIMS FOR INJUNCTIVE AND DECLARATORY RELIEF
       SHOULD BE DISMISSED UNDER RULE 12(B)(1) BECAUSE THEY RAISE
       MINOR DISPUTES OUTSIDE THE SUBJECT MATTER JURISDICTION OF
       THE COURT

       This action is governed by the RLA, the principal purpose of which is to avoid

interruptions to commerce. Detroit & T. S. L. R.R. v. United Transp. Union, 396 U.S. 142

(1969). To achieve this statutory purpose, the RLA provides that air carriers and their employees

are obligated “to exert every reasonable effort to make and maintain agreements . . . and to settle

all disputes, whether arising out of the application of such agreement or otherwise, in order to

avoid any interruption to commerce or to the operation of any carrier growing out of any dispute

between the carrier and the employees thereof.” 45 U.S.C. § 152, First.

       The role of the federal courts in enforcing this obligation depends on whether the dispute

in question is characterized as “major” or “minor.” Major disputes are those over the “formation

of collective agreements or efforts to secure them. They arise where there is no such agreement

or where it is sought to change the terms of one, and therefore the issue is not whether an


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existing agreement controls the controversy.” Elgin, J. & E. Ry. v. Burley, 325 U.S. 711, 723

(1945). For major disputes, the RLA sets forth a detailed negotiation and mediation process. 45

U.S.C. §§ 155, 156. While the parties ultimately are free to exercise self-help, they must

maintain the “status quo” until the negotiation and mediation procedures are exhausted. Bhd. of

R.R. Trainmen v. Jacksonville Terminal Co., 394 U.S. 369, 378 (1969). In a major dispute, the

status quo requirement under Section 2, First of the RLA prevents the union from striking or

engaging in other job actions and management from changing the rates of pay, rules or working

conditions related to the dispute. Id. Moreover, in a major dispute, the parties’ obligations to

maintain the status quo are enforceable, by injunction, in the federal courts. Bhd. of Ry. & S.S.

Clerks, Freight Handlers, Express & Station Emps. v. Fla. E. Coast Ry., 384 U.S. 238, 246

(1966).

          Minor disputes, on the other hand, are those which concern grievances or matters, the

resolution of which require the interpretation or application of existing collective bargaining

agreements. Elgin, 325 U.S. at 722-23. For minor disputes, the RLA requires the parties to

submit the contract interpretation issues to the appropriate board of adjustment for final and

binding arbitration. 45 U.S.C. § 153. The Supreme Court has repeatedly held that the

jurisdiction of the appropriate adjustment board is “mandatory, exclusive and comprehensive.”

E.g., Andrews v. Louisville & Nashville R.R., 406 U.S. 320, 322-24 (1972); Bhd. of Locomotive

Eng’rs v. Louisville & Nashville R.R., 373 U.S. 33, 36-38 (1963); Pennsylvania R.R. v. Day, 360

U.S. 548, 551-54 (1959). In a minor dispute, there is no obligation on the part of the carrier to

maintain the status quo. Conrail, 491 U.S. at 304 (The Supreme Court “never has recognized a

general statutory obligation on the part of an employer to maintain the status quo pending the

Board's decision” on a minor dispute).



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       The Supreme Court has ruled that carriers bear a “relatively light burden” in establishing

that a dispute is minor and therefore subject to mandatory arbitration. Id. at 307. “Where an

employer asserts a contractual right to take the contested action, the ensuing dispute is minor if

the action is arguably justified by the terms of the parties’ collective-bargaining agreement.

Where, in contrast, the employer’s claims are frivolous or obviously insubstantial, the dispute is

major.” Id. at 307, 310. Courts have held that the burden of establishing a minor dispute is so

light that any doubt should be resolved in favor of finding a dispute to be minor. See, e.g., Air

Line Pilots Ass’n, Int’l v. E. Air Lines, Inc., 869 F.2d 1518, 1524 (D.C. Cir. 1989); Bhd. of

Maint. of Way Emps. v. Burlington N. Santa Fe R.R., 270 F.3d 637, 639 (8th Cir. 2001); Ry.

Labor Exec. Ass’n v. Norfolk & W. Ry., 833 F.2d 700, 705 (7th Cir. 1987); Bhd. of R.R.

Signalmen, 310 F. Supp. 3d at 138. Indeed, “few disputes that arise during the term of a

collective bargaining agreement cannot arguably be resolved by reference to the agreement.” E.

Air Lines, 869 F.2d at 1522.

       In Conrail, the employer had an established practice of requiring its employees to

undergo physical examinations periodically and upon return from a leave of absence. Although

drug testing was conducted as a part of the exams only in limited circumstances, the employer

decided that all such physical exams would include a test for drugs. The collective bargaining

agreement between the parties did not address the issue of physical exams or drug testing during

such exams. Conrail, 491 U.S. at 311. The employer based its right to impose drug testing

“solely upon implied contractual terms, as interpreted in light of past practice.” Id. at 312. The

unions representing the affected employees agreed that due to the long-term past practice of the

parties, the employer’s right to conduct physical exams had become an implied term of the




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collective bargaining agreement, but claimed that the drug testing was an unlawful change in the

status quo, i.e., a major dispute under the RLA. Id.

        The Supreme Court rejected the union’s claim, holding that the dispute was minor

because the newly-imposed drug testing was “arguably justified” by the implied terms of the

collective bargaining agreement. The Court based its ruling on the employer’s past practice of

conducting physical exams and imposing periodic changes to those exams, including some drug

testing, without objection from its unions. Id. at 313, 317-20. Consistent with Conrail, this

Circuit has held that in situations involving “implied agreements or unstated terms . . . there is a

strong presumption that a dispute is minor.” E. Air Lines, 869 F.2d at 1521-22. Courts may only

“peek at the merits of a party’s contractual justification” to determine whether the dispute in

question is minor. Id. at 1521.4

        A.       Plaintiffs’ Request for Injunctive Relief Should Be Denied Because Allowing
                 Pilots To Perform Maintenance Related Engine Starts Voluntarily Is At The
                 Very Least Arguably Justified By The CBA as Interpreted in Light of Past-
                 Practice

        While the CBA does not address the issue expressly, Atlas has an implied right under the

CBA, based on many years of past-practice, to allow its technicians to request that pilots perform

maintenance-related engine starts voluntarily. See e.g., Conrail, 491 U.S. at 313, 317-20; Bhd. of

Locomotive Eng’rs & Trainmen v. Union Pac. R.R., 879 F.3d 754 (7th Cir. 2017) (finding minor

dispute where past practice arguably supplied an implied contractual term); Airline Prof’ls Ass’n

of the Int’l Bhd. of Teamsters v. ABX Air, Inc., No. 00-4109, 2001 WL 1609934, at *4 (6th Cir.

Dec. 31, 2001) (“[c]onsidering these past practices, ABX’s decision to unilaterally revise the



4
 Courts in this Circuit have applied the Conrail standard on many occasions to find that disputes between a union
and a carrier were minor disputes subject to mandatory arbitration. See Bhd. of Maint. of Way Emps., 217 F. Supp.
3d at 258, 261; Bhd. of R.R. Signalmen, 310 F. Supp. 3d at 141; IBT/HERE Emp. Representatives Council v. Gate
Gourmet Div. Americas, 377 F. Supp. 2d 54, 60-61 (D.D.C. 2005).

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FOM was ‘arguably justified’”). Atlas has submitted compelling evidence in the form of 49

Aircraft Log entries, and equally compelling testimony from maintenance and flight operations

personnel, that pilots have a long-standing practice of performing maintenance-related engine

starts when requested to do so by a technician. (See Bussell Decl. ¶ 6, Ex. 2; Citrano Decl. ¶ 4;

Carlson Decl. ¶ 10.) This past practice is further confirmed by the fact that Atlas has

incorporated a procedure in its GMM expressly requiring that maintenance-related engine starts

be recorded in the Aircraft Log. (See Bussell Decl. ¶ 4.) If pilots were not conducting

maintenance-related engine starts, there would be no reason for Atlas to include the procedure in

its GMM. On the basis of this evidence, Atlas easily satisfies the “arguably justified” standard of

Conrail and Eastern Airlines. See Bhd. of Locomotive Eng’rs & Trainmen, 879 F.3d at 759

(holding that “[t]he Railroad’s declaration is enough to show that its position is not frivolous,

though it may or may not prevail. Wading through the competing declarations to determine the

actual authority the Railroad had to modify the disciplinary policies, based on past practice, is a

job for the arbitrator.”)

        Because pilots have performed maintenance-related engine starts for an extended period

of time, Atlas has come to rely on this practice. (See Citrano Decl. ¶ 7.) While pilots have the

right, on an individual basis, to decline a technician’s request to perform a maintenance-related

engine start, IBT does not have the right to direct pilots not to perform this function on a

concerted basis with the effect of disrupting Atlas’ operation and exerting pressure in the course

of the current collective bargaining between the parties. Delta Air Lines, Inc. v. Air Line Pilots

Ass’n, Int’l, 238 F.3d 1300, 1307-09 (11th Cir. 2001); United Air Lines, Inc. v. Air Line Pilots

Ass’n Int’l, No. 08 cv 4317, 2008 WL 4936847, at *40 (N.D. Ill. Nov. 17, 2008).




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         In Counts I, II and III for injunctive relief, IBT alleges that OB 19-01 constitutes a

unilateral change to the status quo working conditions and terms of employment because

maintenance-related engine starts do not fit within the definition of “Work” as that term is used

in the CBA.5 (See Compl. ¶ 11.) IBT also alleges in its complaint that “[t]hrough the recent

unilateral issuance of OB-19-01 . . . [Atlas has] imposed a requirement on pilots to operate an

aircraft for purposes other than flight or taxi movement without corresponding compensation.”6

(Id. ¶ 19.) The Union further contends that pilots are not trained to conduct maintenance-related

engine starts, and that such engine starts are unsafe when conducted by pilots. (Id. ¶¶ 16-18, 22-

24.) These allegations do not come close to satisfying the Union’s heavy burden in establishing

a major dispute.

         The Union cannot establish a major dispute by arguing that maintenance-related engine

starts are not “work” under the CBA, and represent a change in the status quo, because Atlas has

submitted admissible evidence that the parties have impliedly agreed – through an established

past practice over many years – that pilots may perform maintenance-related engine starts upon

request of a technician. (See Bussell Decl. ¶ 6, Ex. 2; Citrano Decl. ¶ 4; Carlson Decl. ¶ 10.)

This same past practice disposes of any argument that Atlas has changed the status quo and

created a major dispute with respect to pilot compensation. Not only have pilots performed

maintenance-related engine starts for many years without raising any issue about compensation,

the evidence shows that pilots are requested to perform maintenance-related engine starts during

the 90-minute period prior to their scheduled flight when they are required by the CBA to be on




5
  “Work” is defined in Section 2 of the CBA to “include a flight assignment, a deadhead assignment, reserve,
layover or training (other than home-based training).” (See Compl. Ex. 1 § 2(II).) However, the definition of
“work” is not exclusive and Atlas pilots routinely perform additional duties than those contained in the definition of
“work,” such as their pre-flight duties. (See Carlson Decl. ¶ 6.)
6
  The Union acknowledges that Atlas may require pilots to taxi aircraft under the CBA. (Compl. ¶ 20.)

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duty. (See Carlson Decl. ¶ 6.) Accordingly, it is not “frivolous” or “obviously insubstantial” for

Atlas to take the position that maintenance-related engine starts are impliedly permitted under

the CBA and that pilots are compensated for their labor. Conrail, 491 U.S. at 307, 310.

       The Union’s argument that pilots are not trained to perform maintenance-related engine

starts, and that they present a danger to safety, likewise does not create a major dispute. First,

the Union’s allegations concerning the danger to ground personnel and equipment attendant to

maintenance-related engine starts say nothing about the permissibility of such engine starts under

the implied terms of the CBA as interpreted through past practice. Second, pilots are

indisputably trained to start the engines of an aircraft because they must do so in order to fly the

airplane. (See Carlson Decl. ¶ 5.) Maintenance-related engine starts follow the exact same

procedures, and pilots use the same checklists, as when they start the engines to initiate flight.

(Id.) Indeed, OB-19-01 expressly states that pilots are to “Follow all Normal Before Start, Start,

Shutdown, and After Shutdown Procedures and Checklists.” (Compl. Ex. 2.)

       Furthermore, OB 19-01 applies only when a pilot is “requested by maintenance” to

perform a maintenance-related engine start, and only when a technician and ground handling

employees have concluded that it is safe to do so. (See Compl. Ex. 2.) The question is not

whether the engines will be started. The only question is who will start them. The procedure is

coordinated with airport authorities to ensure safety: lights on the aircraft are illuminated to

inform airport personnel that the engines will start and a trained ground employee watches the

area and remains in contact with the pilot at all times. (Citrano Decl. ¶¶ 5-6.) Pilots have been

performing this task for many years, and the Union does not allege a single instance in which

safety at Atlas has been compromised, or in which any damage has been suffered by a person or




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thing, because a pilot performed a maintenance-related engine start at the request of a

maintenance technician.7 (See also Citrano Decl. ¶ 9.)

         It is noteworthy that the FAA has promulgated a multitude of regulations governing the

operations at airports across the country. See, e.g. 14 C.F.R. § 139.305 (regulating paved areas

of runways and taxiways); 14 C.F.R. § 139.311 (regulating marking, signs, and lighting of

airport taxiways and runways). These regulations cover, among other things, activity of aircraft

and ground vehicles in and around taxiways and runways. See 14 C.F.R. § 139.329 (regulating

pedestrians and ground vehicles); 14 C.F.R. § 135.100 (regulating “critical phases of flight [that]

includes all ground operations involving taxi . . . and all other flight operations conducted below

10,000 feet”). Despite this regulation, and the custom in the industry of pilots conducting

maintenance-related engine starts, the FAA has not prohibited or curtailed pilots from engaging

in maintenance-related engine starts of the type involved here. If the FAA determined that this

was an unsafe procedure as alleged by the Union, it would have so indicated in its regulations.

Courts should certainly not be asked to make safety determinations that Congress has expressly

relegated to the FAA. See Air Line Pilots Ass’n v. United Air Lines, Inc., Case 1:11-cv-04661-

SJ-SMG (E.D.N.Y. Sept. 29, 2011) (in the course of denying a union’s requested major dispute

restraining order regarding the use of new flight manuals in the cockpit, the court held that “there

is nothing in ALPA’s submissions to support a finding that the FAA has somehow been

negligent in carrying its regulatory mandate, or to suggest that the agency’s oversight and/or

conduct . . . is outside the orbit of deference it is entitled to.”).




7
  The Union appears to allege that maintenance-related engine starts are unsafe because the aircraft has not yet been
certified by a technician as airworthy. (Compl. ¶¶ 13-15.) A pilot conducting a maintenance-related engine start,
however, is not starting the engines in order to fly the aircraft. (Carlson Decl. ¶ 11.) He is starting the engines so
that the technician can certify the aircraft as airworthy and the pilot can thereafter operate the aircraft in flight. (Id.)

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       B.      Plaintiffs’ Request For Declaratory Relief Should Be Denied Because
               Allowing Pilots To Perform Maintenance-Related Engine Starts Is At The
               Very Least Arguably Justified By The CBA as Interpreted in Light of Past
               Practice And Because It Would Conflict With This Court’s Injunction

       On November 30, 2017, this Court issued a preliminary injunction prohibiting an

unlawful slowdown conducted by the Union. See Atlas Air, 280 F. Supp. 3d at 106. The Union

now alleges that it has the right to conduct a major dispute strike based on a demonstrably

inaccurate allegation that Atlas has changed the status quo working conditions and terms of

employment by issuing a bulletin on February 1, 2019 “requiring” and “forcing” pilots to

perform maintenance-related engine starts. (See Compl. ¶¶ 1, 10.) Relying on cases purportedly

permitting a union to initiate a major dispute strike when a carrier changes the status quo (until

the status quo is restored), the Union seeks a declaratory judgment that it may initiate a major

dispute strike, including the right to “communicate with [its] pilot members that they need not

accept such unsafe assignments,” “advise the pilots employed by Defendants not to perform

maintenance-related Engine Runs” and “advise the pilots that they have [a] contractual right not

to perform any action that they reasonably believe . . . would result in substantial and imminent

risk to them or their equipment” and to refuse unsafe work – all without violating Section 2, First

of the RLA and this Court’s injunction. (See Compl. Prayer For Relief, §§ B, C.)

       The Union’s request for declaratory relief should be rejected. For the reasons discussed

above, the disagreement in this case over whether pilots may be asked by technicians voluntarily

to perform maintenance-related engine starts raises a minor dispute within the exclusive

jurisdiction of the Atlas Board of Adjustment – not a major dispute as alleged by the Union.

Thus, the purported legal predicate for the requested declaratory judgment – a status quo




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violation by Atlas – does not exist here. This Court therefore does not have jurisdiction to issue

the requested declaratory judgment.8

         The Union’s reliance in its complaint on Section 26.R of the CBA does not alter this

result. (Compl. ¶ 48.) Section 26.R provides that “[n]othing in this Agreement will be construed

to require a Crewmember to take any action if he reasonably believes that such action will result

in substantial and imminent risk of harm to the Crewmember or his equipment.” (Compl. Ex. 1

§ 26.R.) On its face, Section 26.R does not authorize the Union to encourage pilots on a

concerted basis to stop engaging in voluntary activity they have been performing for many years.

Quite the opposite. Section 26.R permits an individual pilot, acting on her own accord, to refuse

an assignment only where she believes there is “a substantial and imminent risk of harm.” (Id.)

Thus, Section 26.R provides IBT with no contractual basis for a declaratory judgment allowing

the Union to advise pilots, on a concerted basis, not to conduct maintenance-related engine starts

and to “refuse unsafe work.” And to the extent there is any conceivable disagreement regarding

the plain language of Section 26.R of the CBA, such disagreement constitutes a minor dispute

for the exclusive arbitration jurisdiction of the Atlas Board of Adjustment.

         The Union’s invocation of safety concerns also does not change the result. Until

approximately February 2019, shortly before filing this lawsuit, the Union never before claimed

that the maintenance-related engine starts by pilots create a safety risk. (See Carlson Decl. ¶ 10.)

The Union’s safety allegations now, after a ten-year past practice where there have been no

accidents or harm caused by maintenance-related engine starts by pilots, are not plausible and




8
  Under the case relied upon by the Union in its complaint, the right to engage in a major dispute strike ceases once
the carrier restores the status quo. (Compl. ¶ 47; see Atlanta & W. Point R.R. v. United Transp. Union, 439 F.2d 73,
80 (5th Cir. 1971). Here, if the Court were to issue the requested injunction, the legal predicate for the Union’s
declaratory judgement request would no longer exist because the status quo would be restored. Thus, the Union’s
request for both an injunction and a declaratory judgment cannot possibly be sustained.

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cannot be credited. As this Court held in issuing its November 2017 injunction, and as other

courts have held in the past, phrases like “work safe” are, in the context of a labor dispute,

frequently code for slowing down an airline in an effort to gain leverage in collective bargaining

in violation of Section 2, First of the RLA. Atlas Air, 280 F. Supp. 3d at 91; see also United Air

Lines, Inc. v. Air Line Pilots Ass’n, Int’l, 563 F.3d 257, 272 (7th Cir. 2009); United Air Lines,

Inc. v. Int’l Ass’n of Machinists & Aerospace Workers, 243 F.3d 349, 366-67 (7th Cir. 2001).

That should not be permitted here.

       In issuing the November 2017 injunction, this Court ruled that IBT was engaged in an

illegal slowdown by encouraging pilots to stop certain activities that were voluntary on an

individual basis but that pilots had performed for many years (e.g., open time flying and blocking

out early). Atlas Air, 280 F. Supp. 3d at 95-98, 98-102. IBT is now seeking permission from the

Court to engage in the same type of slowdown activity that was previously enjoined – it wants to

direct pilots on a concerted basis, under the pretext of safety, to discontinue a practice that is

voluntary but which the pilots have been performing for years, and on which Atlas has relied to

operate its flights on a timely basis. Because the Court has previously found that such concerted

activity by IBT disrupts operations in violation of Section 2, First of the RLA, and because the

Union can show no arguable justification in the CBA or the RLA for the declaratory judgment it

seeks, the Union’s request for declaratory relief should be denied and its claim should be

dismissed.

III.   PLAINTIFFS’ CLAIMS FOR INJUNCTIVE AND DECLARATORY RELIEF
       SHOULD BE DISMISSED UNDER RULE 12(B)(6) BECAUSE THEY FAIL TO
       PLAUSIBLY STATE CLAIMS FOR RELIEF

       In its complaint, IBT alleges that Atlas has unilaterally changed the status quo “terms and

conditions of employment” and “working conditions” for pilots in violation of Section 6 and



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Section 2, Seventh of the RLA. (Compl. ¶¶ 1, 34, 37.) In support of this allegation, the Union

falsely contends that by issuing OB-19-01, Atlas is “ordering that pilots perform Engine Starts”

and “requiring pilots to conduct maintenance worker functions.” (Id. ¶ 10; see also id. ¶¶ 19,

22.) IBT further inaccurately contends, again on the basis of OB 19-01, that Atlas is “now

forcing said pilots to perform Engine Starts.” (Id. ¶ 1.) According to the Union, this alleged

change in the status quo terms of employment creates a major dispute under the RLA, entitling

the Union to injunctive relief prohibiting Atlas from allowing its technicians to ask pilots to

perform maintenance-related engine starts, and to declaratory relief permitting the Union to

instigate a major dispute strike and to “advise the pilots employed by Defendants not to perform

maintenance-related Engine Runs” without violating the Court’s November 2017 injunction.

(Compl. Prayer for Relief, § C.)

        Assuming arguendo that this Court determines it has jurisdiction, the Union’s claims

should be dismissed for failure to state a claim under Rule 12(b)(6) because they all rely on the

same demonstrably false allegation that OB 19-01 altered the status quo terms of employment by

“requiring” and “forcing” pilots to perform maintenance-related engine starts.9 Contrary to the

Union’s allegations, however, absolutely nothing in OB 19-01 conceivably “requires” or

“forces” pilots to perform maintenance-related engine starts. On its face, OB 19-01 only sets

forth “Guidelines” for pilots who are “requested by maintenance to conduct an engine start.”

(See Compl. Ex. 2.) Because the Union’s allegations of a change to the pilots’ terms of

employment all rely on the inaccurate and unsupportable assertion that OB 19-01 is “forcing” or

“requiring” pilots to conduct maintenance-related engine starts, those allegations are implausible



9
 The Court may consider OP 19-01 in deciding a motion under Rule 12(b)(6) because it is referenced and relied
upon in the complaint and attached as an exhibit. Page v. Mancuso, 999 F. Supp. 2d 269, 275 (D.D.C 2013); W.
Wood Preservers Inst. v. McHugh, 292 F.R.D. 145, 149 (D.D.C. 2013).

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and should be dismissed with prejudice. See Kaempe v. Myers, 367 F.3d 958, 963 (D.C. Cir.

2004) (“Nor must we accept as true the complaint’s factual allegations insofar as they contradict

exhibits to the complaint or matters subject to judicial notice”); Rivera v. Rosenberg & Assocs.,

LLC, 142 F. Supp. 3d 149, 161 (D.D.C. 2015) (“Where, as here, the complaint’s factual

allegations are contradicted by exhibits incorporated by reference in the complaint and of which

the Court may take judicial notice, the Court need no longer accept as true plaintiff’s version of

events.”).

        After publishing OB 19-01, Atlas issued another bulletin, OB 19-04, entitled

“Clarification on Operations Bulletin OB-19-01 Engine Start Guidelines,” confirming irrefutably

that maintenance-related engine starts are voluntary. (Carlson Decl. ¶ 9.) In OB 19-04, Atlas

stated that “OB 19-01 was not intended to and does not require that pilots perform engine starts

when requested by maintenance. A pilot’s decision whether to perform such an engine start is

voluntary.” (Id.) The Court may consider OB-19-04 on this motion because, in alleging that

Atlas was “forcing” and “requiring” pilots to conduct maintenance-related engine starts, IBT

necessarily must rely on all of the policy documents governing that procedure. See Hinton v.

Corr. Corp. of Am., 624 F. Supp. 2d 45, 47 (D.D.C. 2009) (“By pleading that defendant had a

duty to provide him with eye treatment and care, the plaintiff’s complaint necessarily rests on the

contract, although it did not incorporate the contract.”)10 Indeed, the title of OB 19-04,

referencing a “clarification of OB 19-01,” demonstrates that the two documents must necessarily

be read together. (Carlson Decl. ¶ 9.)




10
   If the Court concludes that it may not consider OP 19-04 for purposes of a motion to dismiss under Rule 12(b)(6),
it should convert this motion to one for summary judgment and dismiss the Union’s claims on the ground that the
maintenance-related engine starts are indisputably voluntary. Mancuso, 999 F. Supp. 2d at 275-76.

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         The complaint also must be dismissed for failure to state a claim because Atlas could not

possibly violate the pilots’ status quo terms of employment or working conditions under the RLA

by implementing a purely voluntary maintenance-related engine start procedure for individual

pilot choice. As one court has held in denying a union’s request for a major dispute injunction

under the RLA, “[b]ecause voluntary testing would involve individual decisions made freely by

individual employees, by no stretch of the imagination could this be construed to be a change in

working conditions.” S. Pac. Transp. Co., 1980 WL 2170, at *4. For this additional reason, the

complaint does not plausibly state a claim and should be dismissed.

                                         CONCLUSION

         For the reasons discussed above, the Court should dismiss all claims with prejudice.

Dated:    April 1, 2019                       Respectfully submitted,
          Washington, D.C.

                                              By:     /s/ Robert A. Siegel
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